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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

 

 

 

 

 

SECURITIES AND EXCHANGE
COMMISSION, 17-CV-1789 (DLC)
Plaintiff,
v. Tuspe s SDNY
LEK SECURITIES CORPORATION, et DOCUMENT
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Defendants. PATE uF FILED: ~ tol] [201¢ Z20\
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FINAL JUDGMENT AS TO DEFENDANT
LEK SECURITIES CORPORATION

The Securities and Exchange Commission (“SEC” or “Commission”) having filed a
Complaint and Defendant Lek Securities Corporation (“Defendant” or “Lek Securities”) having
entered a general appearance; consented to the Court’s jurisdiction over Defendant and the
subject matter of this action; consented to entry of this Final J udgment; waived findings of fact
and conclusions of law; and waived any right to appeal from this Final Judgment; and Defendant
having admitted the facts set forth in the Consent of Lek Securities (“Consent”):

1,

IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that Defendant Lek
Securities is permanently restrained and enjoined from violating, directly or indirectly, Section
10(b) of the Securities Exchange Act of 1934 (the “Exchange Act”) [15 U.S.C. § 78)(b)] and
Rule 10b-5 promulgated thereunder [17 C.F.R. § 240.10b-5], by using any means or
instrumentality of interstate commerce, or of the mails, or of any facility of any national

securities exchange, in connection with the purchase or sale of any security:

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(a) to employ any device, scheme, or artifice to defraud,

(b) to make any untrue statement of a material fact or to omit to state a material fact
necessary in order to make the statements made, in the light of the circumstances
under which they were made, not misleading; or

(c) to engage in any act, practice, or course of business which operates or would
operate as a fraud or deceit upon any person.

IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, as provided in
Federal Rule of Civil Procedure 65(d)(2), the foregoing paragraph also binds the following who
receive actual notice of this Final Judgment by personal service or otherwise: (a) Defendant’s
officers, agents, servants, employees, and attorneys; and (b) other persons in active concert or
participation with Defendant or with anyone described in (a).

U.

IT IS HEREBY FURTHER ORDERED, ADJUDGED, AND DECREED that Defendant
Lek Securities is permanently restrained and enjoined from violating Section 17{a) of the
Securities Act of 1933 (the “Securities Act”) [15 U.S.C. § 77q(a)] in the offer or sale of any
security by the use of any means or instruments of transportation or communication in interstate
commerce or by use of the mails, directly or indirectly:

(a) to employ any device, scheme, or artifice to defraud;

(b) to obtain money or property by means of any untrue statement of a material fact

or any omission of a material fact necessary in order to make the statements
made, in light of the circumstances under which they were made, not misleading;

or
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(c) to engage in any transaction, practice, or course of business which operates or

would operate as a fraud or deceit upon the purchaser.

IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, as provided in
Federal Rule of Civil Procedure 65(d)(2), the foregoing paragraph also binds the following who
receive actual notice of this Final Judgment by personal service or otherwise: (a) Defendant’s
officers, agents, servants, employees, and attorneys; and (b) other persons in active concert or
participation with Defendant or with anyone described in (a).

Il.

IT IS HEREBY FURTHER ORDERED, ADJUDGED, AND DECREED that Defendant
Lek Securities is permanently restrained and enjoined from violating Section 9(a){2) of the
Exchange Act [15 U.S.C. § 78i(a)(2)], directly or indirectly, by the use of the mails or any means
ot instrumentality of interstate commerce, or of any facility of any national securities
exchange, or for any member of a national securities exchange to:

effect, alone or with one (1) or more other persons, a series of transactions in
any security registered on a national securities exchange, any security not so
registered, or in connection with any security-based swap or security-based swap
agreement with respect to such security creating actual or apparent active trading
in such security, or raising or depressing the price of such security, for the
purpose of inducing the purchase or sale of such security by others.

IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, as provided in
Federal Rule of Civil Procedure 65(d)(2), the foregoing paragraph also binds the following who

receive actual notice of this Final Judgment by personal service or otherwise: (a) Defendant’s
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officers, agents, servants, employees, and attorneys; and (b) other persons in active concert or
participation with Defendant or with anyone described in (a).
IV.

IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that Defendant
Lek Securities is liable for disgorgement of $419,623, representing profits gained as a result of
the conduct alleged in the Complaint, together with prejudgment interest thereon in the amount
of $106,892, and a civil penalty in the amount of $1,000,000 pursuant to Section 21(d) of the
Exchange Act. Defendant shall satisfy this obligation by paying $1,526,515 to the Securities and
Exchange Commission within 30 days after entry of this Final Judgment.

Defendant may transmit payment electronically to the Commission, which will provide
detailed ACH transfer/Fedwire instructions upon request. Payment may also be made directly
from a bank account via Pay.gov through the SEC website at
http://www.sec.gov/about/offices/ofm.htm, Defendant may also pay by certified check, bank
cashier’s check, or United States postal money order payable to the Securities and Exchange
Commission, which shall be delivered or mailed to

Enterprise Services Center

Accounts Receivable Branch

6500 South MacArthur Boulevard

Oklahoma City, OK 73169
and shall be accompanied by a letter identifying the case title, civil action number, and name of
this Court; Lek Securities as a defendant in this action; and specifying that payment is made
pursuant to this Final Judgment.

Defendant shall simultaneously transmit photocopies of evidence of payment and case

identifying information to the Commission’s counsel in this action, By making this payment,

Defendant relinquishes all legal and equitable right, title, and interest in such funds and no part
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of the funds shall be returned to Defendant. The Commission shall send the funds paid pursuant
to this Final Judgment to the United States Treasury.

The Commission may enforce the Court’s judgment for disgorgement, prejudgment
interest, and penalties by moving for civil contempt (and/or through other collection procedures
authorized by law) at any time after 30 days following entty of this Final Judgment. Defendant
shall pay post judgment interest on any delinquent amounts pursuant to 28 U.S.C. § 1961.

V.

IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that the Consent is
incorporated herein with the same force and effect as if fully set forth herein, and that Defendant
Lek Securities is restrained and enjoined for a period of three (3) years from having foreign
customers that engage in intra-day trading pursuant to the definitions and terms detailed in
Appendix A hereto (the “Foreign Intra-Day Trading Injunction Provisions”), which also is
incorporated with the same force and effect as if fully set forth herein.

VI.

IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that the Consent is
incorporated herein with the same force and effect as if fully set forth herein, and that Defendant
Lek Securities shall comply with all of the undertakings and agreements set forth therein,
including but not limited to the undertakings to:

(a) retain an independent compliance monitor for a period of at least three (3) years to
perform a comprehensive and ongoing review pursuant to the terms and concerning
the areas and subjects set forth in Appendix B hereto (the “Independent Compliance
Monitor Provisions”), which also is incorporated with the same force and effect as if

fully set forth herein; and
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(b) certify, in writing, compliance with the undertaking(s) set forth above. The
certification shall identify the undertaking(s), provide written evidence of compliance
in the form of a narrative, and be supported by exhibits sufficient to demonstrate
compliance. The Commission staff may make reasonable requests for further
evidence of compliance, and Defendant agrees to provide such evidence. Defendant
shall submit the certification and supporting material to Melissa Hodgman, with a
copy to the Office of Chief Counsel of the Enforcement Division, no later than sixty
(60) days from the date of the completion of the undertakings.

VII.
IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that this Court shall retain
jurisdiction of this matter for the purposes of enforcing the terms of this Final Judgment.
Vil.
There being no just reason for delay, pursuant to Rule 54(b) of the Federal Rules of Civil

Procedure, the Clerk is ordered to enter this Final Judgment forthwith and without further notice.

Dated: Sr 2019 ,
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UNITED StyTES DISTRICT JUDGE

 
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APPENDIX A
I.

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FOREIGN INTRA-DAY TRADING INJUNCTION PROVISIONS
Definitions applicable to Foreign Intra-Day Trading Injunction.
A. “Affiliates of Lek Securities.” The term “Affiliates of Lek Securities” includes Lek
Securities U.K. Limited (“Lek UK”), Lek Holdings Limited (“Lek Holdings”), and any
parent, subsidiary, predecessor, successor, entity owned or controlled by, or under common
control with, Lek Securities, Lek UK, or Lek Holdings.
B. “Customer. The term “Customer” shall mean any individual or entity holding an
account at or trading through Lek Securities.
C. “Foreign Customer.” The term “Foreign Customer” shall mean any Customer who
is not a citizen, national, or resident of the United States or its territories, or is not
incorporated or domiciled in the United States or its territories. Any Foreign Customers of
Affiliates of Lek Securities shall be treated as Foreign Customers of Lek Securities.
D, “Intra-Day Trading.” The term “Intra-Day Trading” shall mean executing,
through an account at Lek Securities, more than five buy and more than five sell orders in
the same security (equity or option), within a single day.
Foreign Intra-Day Trading Injunction.
A. Lek Securities is enjoined for a period of three 3) years from the date of entry of the
Final Judgment, from having Foreign Customers that engage in Intra-Day Trading. This
shall be referred to as the “Foreign Intra-Day Trading Injunction.”
B, The Foreign Intra-Day Trading Injunction does not apply where Lek Securities
engages in the following limited non-executing prime brokerage functions: (1) post-

execution clearing services; (2) settlement of secutities; (3) custody services, including
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providing technical services necessary to the provision of such custody services; and (4) pre-

execution credit checks conducted in connection with sections IL.B(1)-G).

Cc. Exceptions to the Foreign Intra-Day Trading Injunction.
Trading Exceptions. Subject to the Time-Out Period described in section 1.D.
below, the Foreign Intra-Day Trading Injunction shall not apply to the following
types of trading by Foreign Customers:
(1) instances where the Monitor determines that the Intra-Day Trading was
solely to unwind specific positions in a single day due to news events, unique
changes in market conditions, or to correct a bona-fide error; provided, however, that
if Lek Securities or the customer does not or cannot provide the Monitor with
requested information to determine if the trading falls under this exception, then this
exception shall not apply;
(2) instances where the Monitor determines that the Intra-Day Trading was
related to hedging that is not part of a manipulative or illegal strategy; provided,
however, that if Lek Securities or the customer does not or cannot provide the
Monitor with requested information to determine if the trading falls under this
exception, then this exception shall not apply;
(3) instances where the Monitor determines that the Intra-Day Trading was
related to stop loss orders that are not part ofa manipulative or illegal strategy;
provided, however, that if Lek Securities or the customer does not or cannot provide
the Monitor with requested information to determine if the trading falls under this

exception, then this exception shall not apply;
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Foreign Customer Exceptions. The Foreign Intra-Day Trading Injunction shall not
apply to Foreign Customers in the following categories:
(4) institutional Customers with assets under management in excess of $50
million; or
(5) pension funds, broker-dealers subject to comprehensive regulation in their
local jurisdiction, licensed banks, and entities that meet the definition of foreign
financial institutions under 26 U.S.C. §§ 1471(d)(4) and (d)(5) and that are subject to
comprehensive regulation in their local jurisdiction by a regulatory body applicable
to that type of entity.

D. Applicability of Exceptions.
(4) Existing Foreign Customers. From the date of entry of the Final Judgment
until the later of (i) one-hundred twenty (120) days, or (ii) three (3) days after the
Monitor’s first report (“Time Out Period”), the Exceptions to the Foreign Intra-Day
Trading Injunction set forth in section IL.C(2)-(5) above shail be available only to
existing Foreign Customers of Lek Securities. Attachment 1 hereto [filed under
seal] is a list of existing Foreign Customers of Lek Securities.
(2) New Foreign Customers. At the end of the Time Out Period, subject to
review and approval by the Monitor, Lek Securities may begin excepting new
Foreign Customers from the Foreign Intra-Day Trading Injunction pursuant to
section I.C(2}-(5).

I. Requirement to Terminate Certain Foreign Customers.
A. Foreign Customers of Lek Securities may be deemed Significant Compliance Risks

and must be terminated as following:
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(1) Significant Compliance Risk Designation. Lek Securities shall designate a
Foreign Customer as a “Significant Compliance Risk” if:
(a) A Foreign Customer that does not fall within the exceptions in
section II.C(4)-(5) engages in Intra-Day Trading twice in a 30-day period;
or
(b) A Foreign Customer, regardless of whether subject to any
exception set forth in section II,C., engages in potential manipulative
trading or other market manipulation that is flagged by the Monitor, the
SEC, Financial Industry Regulatory Authority, or another Self-Regulatory
Organization (“SRO”).
(2) Significant Compliance Risk Review. Lek Securities must cause the
Monitor to conduct a review of a Foreign Customer that has been deemed a
Significant Compliance Risk within 30 days of the Foreign Customer being so
designated, as set forth in section X of Appendix B (“Significant Compliance Risk
Review”).
(3) Account Suspension. Lek Securities must suspend all trading by the
Foreign Customer that is deemed a Significant Compliance Risk during the
Significant Compliance Risk Review if the Monitor so recommends, as set forth in
section X of Appendix B.
(4) Termination.
(a) Lek Securities must terminate a Foreign Customer that is deemed a

Significant Compliance Risk if, after the Significant Compliance Risk
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Review, the Monitor determines that the Foreign Customer should be
terminated, as set forth in section X of Appendix B.

(b) If Lek Securities or the Foreign Customer cannot or does not
provide information requested by the Monitor to conduct the Significant
Compliance Risk Review as set forth in section X of Appendix B, Lek

Securities must terminate that Foreign Customer.
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APPENDIX B
I.

ii.

IV.

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INDEPENDENT COMPLIANCE MONITOR PROVISIONS
Definitions Applicable to Independent Compliance Monitor Provisions. The definitions
in Appendix A (Foreign Intra-Day Trading Injunction Provisions) shall apply herein.
Retention and Tasks. No later than thirty (30) days after entry of the Final Judgment,
Lek Securities shall retain an independent compliance monitor (“Monitor”) not
unacceptable to SEC staff to perform a comprehensive and ongoing review of Lek
Securities concerning the areas and subjects set forth below, and to carry out the tasks set
forth herein. Lek Securities may apply to SEC staff for an extension of that deadline
before it arrives, and upon a showing of good cause by Lek Securities, SEC staff in its
sole and reasonable discretion may grant such extension for whatever period of time it
deems appropriate.
‘Term and Payment of Monitor. Lek Securities shall retain the monitor for a period of
three (3) years from the date of retention, provided, however, that if Lek Securities fails to
implement the Monitor’s recommendations and obtain the Monitor’s certification of such
implementation within that period, Lek Securities shall retain the Monitor until Lek
Securities complies with all recommendations and the Monitor certifies that such
recommendations have been implemented. Lek Securities shall be solely responsible for
payment of the Monitor’s fees and expenses,
Independence of Monitor. Lek Securities shall require the Monitor to enter into an
agreement that provides that for the period of engagement and for a period of two (2) years
from completion of the engagement, the Monitor shall not enter into any employment,
consultant, attorney-client, auditing or other professional relationship with Lek Securities or

any of its present or former affiliates, directors, officers, employees, or agents acting in those
Vi.

VI.

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capacities. The agreement will also provide that the Monitor will require that any firm with
which he/she is affiliated or of which he/she is a member, and any person engaged to assist
the Monitor in performance of his/her duties under this Order shall not, without prior written
consent of SEC staff, enter into any employment, consultant, attorney-client, auditing or
other professional relationship with Lek Securities, or any of its present or former affiliates,
directors, officers, employees, or agents acting in those capacities for the period of the
engagement and for a period of two years after the engagement.
Confirmation, Within three (3) business days after retaining the Monitor pursuant to
section II above, Lek Securities must provide to SEC staff a copy of the engagement letter
detailing the Monitor’s responsibilities.
Cooperation. [Lek Securities shall cooperate fully with the Monitor, including providing
the Monitor with access to its files, books, records, and personnel (and the files, books,
records, and personnel of Affiliates of Lek Securities), as reasonably requested for the tasks
set forth herein, and Lek Securities shall obtain the cooperation of its employees or other
persons under its supervision or control.
Account Information to Provide to Monitor. In order to facilitate the Monitor’s reviews
and assessments that are to be performed hereunder, and in addition to any information
required by section VIILB. below, Lek Securities shall provide the Monitor with the
following information and documents, within such time as the Monitor reasonably requires
and on an ongoing basis if and as required by the Monitor:

A. The identity and full legal name of every Customer, including the account holder

and every person authorized by Lek Securities to trade in the account.
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B. For each individual identified in subparagraph (A) above, a statement of whether the
person is a citizen, national, or resident of the United States or its territories, and if
50, identification of the location from which the individual does business, and a
copy of the driver’s license or U.S. passport of such individual.

C. Ifthe individual identified in subparagraph (A) above is not a citizen, national, or
resident of the United States or its territories, a statement of the nationality, the
location from which the individual does business, and a copy of government-
issued identification.

D. For each entity identified in subparagraph (A) above, identification of the names of
the entity’s principals, and a statement of whether it is incorporated or domiciled
in the United States or its territories, and if so, the state in which it is
incorporated, and the state in which it has its principal place of business.

E. Ifthe entity identified in subparagraph (A) above is not incorporated or domiciled in
the United States ot its territories, identification of the country in which it is
incorporated, and the country in which it has its principal place of business,

F, Such other information as the Monitor requests.

VIII. Monitor’s Review, Assessment and Recommendations of Lek Securities’ Compliance
With Foreign Intra-Day Trading Injunction.

A. Lek Securities shall require the Monitor to review and assess on an ongoing basis
whether Lek Securities is complying with the Foreign Intra-Day Trading Injunction
as set forth in Appendix A. This shal! include but not be limited to requiring the
Monitor to: (i) review and assess all Intra-Day Trading by Foreign Customers who
are not excepted from such injunction under sections 11.C(4)-(5) and ID of

Appendix A; (ii) review and assess the sufficiency and reasonableness of Lek
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Securities’ systems, policies, and procedures related to Intra-Day Trading by Foreign
Customers; (iii) review and assess Lek Securities’ compliance with the Foreign
Intra-Day Trading Injunction; and (iv) conduct reviews and make recommendations
pursuant to the Significant Compliance Risk provisions below.

B. In order to facilitate the Monitor’s review required by this section and the Significant
Compliance Risk provisions below, Lek Securities shall provide the Monitor with
the following information for all Intra-Day Trading by Foreign Customers who are
not excepted from such injunction under sections TI.C(4)-(5) and 11.D of Appendix
A:

(1) The date and time, security, quantity, price, and other details requested by
the Monitor concerning orders placed and trades executed;

(2) For orders and trades identified under subparagraph (1) above, the identity
and location of the Customer, sub-account, or trader who entered each order and
trade; and

(3) Such other information as the Monitor requests, including but not limited to
the information described in section VII above.

C. Lek Securities shall make the information required by this section VIII available to
the Monitor beginning no later than thirty (30) days after the date of entry of the
Final Judgment, and then every thirty (30) days thereafter, or at such other intervals
as the Monitor may require.

D. Lek Securities shall require the Monitor to perform and complete the review,
assessment and making of recommendations required by this section within one

hundred twenty (120) days of the date of the Monitor’s appointment, and again by
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the end of each one hundred twenty (120) day period thereafter, for so long as the
Monitor is engaged.

E. Lek Securities shall require the Monitor to submit a report to Lek Securities and
SEC staff on the review, assessment and recommendations required by this section
within one hundred twenty (120) days of the date of the Monitor’s appointment, and
again by the end of each one hundred twenty (120) day period thereafter, for so long
as the Monitor is engaged. The report shall include information concerning review
and recommendations regarding Intra-Day Trading by Foreign Customers.

IX. | Monitor’s Review, Assessment and Recommendations Regarding Manipulative
Trading and Market Manipulation.

A. Lek Securities shall require the Monitor to review and assess the sufficiency and
reasonableness of Lek Securities’ controls and procedures for preventing
manipulative trading and other market manipulation (not limited to Foreign
Customers), and to recommend actions, if any, to be taken by Lek Securities to make
its controls and procedures more effective at detecting and preventing manipulative
trading and other market manipulation.

B. Lek Securities shall require the Monitor to conduct reviews and make
recommendations regarding Foreign Customers engaged in potential manipulative
trading or other market manipulation pursuant to the Significant Compliance Risk
provisions set forth below in section X.

C. Lek Securities shall require the Monitor to perform and complete this review,
assessment and making of recommendations within one hundred twenty (120) days
of the date of the Monitor’s appointment, and again by the end of each one hundred

twenty (120) day period thereafter, for so long as the Monitor is engaged.
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D. Lek Securities shall require the Monitor to submit a report to Leic Securities and
SEC staff on the review, assessment, and recommendations required by this section
within one hundred twenty (120) days of the date of the Monitor’s appointment, and
again by the end of each one hundred twenty (120) day period thereafter, for so long
as the Monitor is engaged. The report shall include information concerning the
Monitor’s review and recommendations regarding manipulative trading and other
market manipulation.

X.  Monitor’s Review and Recommendations Concerning Significant Compliance Risks
and Termination.

A. Lek Securities shall require the Monitor to review, assess, and make
recommendations on an ongoing basis concerning Lek Securities’ compliance with
the Requirement to Terminate Certain Foreign Customers provisions in section ITT of
Appendix A. This shal! include but not be limited to requiring the Monitor to: (i)
review and assess the sufficiency and reasonableness of Lek Securities’ systems,
policies, and procedures for identifying Foreign Customers as Significant
Compliance Risks; (ii) review and assess Lek Securities’ compliance with the
Requirement to Terminate Certain Foreign Customer provisions in section ITI of
Appendix A; and (iv) conduct reviews and make recommendations where a Foreign
Customer has been designated a Significant Compliance Risk.

B. Where a Foreign Customer has been designated a Significant Compliance Risk, Lek
Securities shall require the Monitor to undertake reviews and recommendations as
follows:

) Conduct a review within thirty (30) days of the Foreign Customer being

designated a Significant Compliance Risk (“Significant Compliance Risk Review”)
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to determine whether the Foreign Customer has engaged in Intra-Day Trading not
subject to the exceptions set forth in sections I1.C and D. of Appendix A, or has
engaged in manipulative trading or other market manipulation;

(2) Recommend whether Lek Securities should suspend all trading by the
Foreign Customer during the period of the Significant Compliance Risk Review,

(3) Determine whether Lek Securities and the Foreign Customer have
provided all information requested to conduct the Significant Compliance Risk
Review;

(4) Determine whether the Foreign Customer has engaged in Intra-Day
Trading not subject to the exceptions set forth in sections II.C and D. of Appendix
A, or has engaged in manipulative trading or other market manipulation; and

(5) Make a recommendation regarding termination of the Foreign Customer
based upon the Monitor’s determinations under sections X.B(3) and (4) and the
Requirement to Terminate Certain Foreign Customer provisions under section IT of
Appendix A.

C. Lek Securities shall require the Monitor to perform this review, assessment, and
making of recommendations on an ongoing basis for so long as the Monitor is
engaged.

D. Lek Securities shall require the Monitor to submit a report to Lek Securities and
SEC staff on the review and recommendations required by this section within one
hundred twenty (120) days of the date of the Monitor’s appointment, and again by
the end of each one hundred twenty (120) day period thereafter, for so long as the

Monitor is engaged, The report shall include information concerning the Monitor’s
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review and recommendations regarding any Foreign Customers designated as
Significant Compliance Risks.

XI. Monitor’s Review and Assessment of Whether Sam Lek Has Any Interest or Role in
Lek Securities.

A. Lek Securities shall require that the Monitor review and assess Lek Securities’
corporate governance structure, ownership, and management, so as to determine
whether Sam Lek has any legal or beneficial interest or role in Lek Securities.

B. Lek Securities shall require the Monitor to perform and complete this review and
assessment within one hundred twenty (120) days of the date of the Monitor’s
appointment, and again by the end of each one hundred twenty (120) day period
thereafter, for so long as the Monitor is engaged.

C. Lek Securities shall require the Monitor to submit a report to Lek Securities and
SEC staff on the review, assessment, and recommendations required by this section
within one hundred twenty (120) days of the date of the Monitor’s appointment, and
again by the end of each one hundred twenty (120) day period thereafter, for so long
as the Monitor is engaged.

XII. Implementation of Recommendations.

A. Except as set forth in section XII.B-G below, Lek Securities shall have ninety (90)
days from the date of receiving any recommendations from the Monitor to adopt and
implement such recommendations. Lek Securities shall notify the Monitor and SEC
staff in writing when each such recommendation has been implemented.

B. Any recommendations that the Monitor makes regarding suspending all trading by
the Foreign Customer during a period of Significant Compliance Risk Review must

be implemented within one (1) business day of the Monitor’s recommendation.
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C. Any recommendations that the Monitor makes regarding termination of a Foreign
Customer must be implemented within two (2) business days of the Monitor’s
recommendation.

D. If Lek Securities considers any recommendation unduly burdensome, impractical,
or costly, or inconsistent with applicable law or regulation, Lek Securities need
not adopt that recommendation at that time, but may submit in writing to the
Monitor and SEC staff within fifteen (15) days of receiving the recommendation,
an alternative policy, procedure, or system designed to achieve the same objective
or purpose, This provision shall not apply, however, to recommendations that the
Monitor makes regarding (i) suspending all trading by the Foreign Customer
during a period of Significant Compliance Risk Review, or (ii) termination of a
Foreign Customer,

E. If Lek Securities considers any recommendation relating to (i) suspending all
trading by the Foreign Customer during a period of Significant Compliance Risk
Review, or (ii) termination of a Foreign Customer, to be unduly burdensome,
impractical, or costly, or inconsistent with applicable law or regulation, Lek
Securities shal! adopt the recommendation at that time, but may submit in writing
to the Monitor within fifteen (15) days of receiving the recommendation, an
alternative policy, procedure, or system designed to achieve the same objective or
purpose.

EF. In the event that Lek Securities and the Monitor are unable to agree on an
acceptable alternative proposal under sections XILD-E above, Lek Securities shall

promptly consult with SEC staff. Any disputes between Lek Securities and the
ALL.

XIV.

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Monitor with respect to any recommendation shall be decided by SEC staff in its
sole discretion. Pending such determination, Lek Securities shall not be required
to implement any contested recommendation(s), except as set forth above
recommendations regarding (i) suspending all trading by the Foreign Customer
during a period of Significant Compliance Risk Review, or (ii) termination of a
Foreign Customer.

G. With respect to any recommendation that the Monitor determines cannot
reasonably be implemented within ninety (90) days after receiving it, the Monitor
may extend the time period for implementation, so long as SEC staff does not
object.

Providing Information to the SEC. For the period of the Monitor’s engagement, Lek
Securities shall provide SEC staff with any information reasonably requested by the SEC
pertaining to the subject matter of this Judgment. Lek Securities shall require that the
Monitor provide the SEC with any information that SEC staff requests regarding such
matters, including but not limited to the Monitor’s review, assessments, recommendations,
and any communications and interactions between the Monitor and Lek Securities,
Requirements Hereunder Do Not Supplant Other Legal Requirements. The
prohibitions and obligations set forth herein do not supplant any obligations that Lek
Securities has under the law or under the rules of any self-regulatory organization or
exchange of which Lek Securities is a member. No determinations by the Monitor, and no
provisions herein, shall preclude the SEC, any other law enforcement agency or authority, or

any self-regulatory organization from bringing actions against the Lek Defendants.

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XV. Certification by Lek Securities. Within thirty (30) days after the date of implementation
of any recommendation herein, Lek Securities shall certify to the Monitor and SEC staff, in
writing, compliance with the undertakings set forth above. The certification shall identify
the undertakings, provide written evidence of compliance in the form of a narrative, and be
supported by exhibits sufficient to demonstrate compliance. SEC staff may make
reasonable requests for further evidence of compliance, and Lek Securities agrees to provide

such evidence.

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